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                             UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA

  INTERNATIONAL BROTHERHOOD OF
  ELECTRICAL WORKERS LOCAL 98                                Case No. 3:19-cv-3304
  PENSION FUND on behalf of itself and all
  others similarly situated,

                   Plaintiffs,

  vs.

  DELOITTE & TOUCHE, LLP;
  DELOITTE LLP,

                   Defendants.


              DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ CONSOLIDATED
                  COMPLAINT AND SUPPORTING MEMORANDUM OF LAW




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         Defendants Deloitte & Touche, LLP (“Deloitte”) and Deloitte LLP (collectively,

“Defendants”), under Rules 8, 9(b), and 12(b)(6) of the Federal Rules of Civil Procedure and the

Private Securities Litigation Reform Act of 1995 (“PSLRA”), 15 U.S.C. § 78u–4(b)(3)(A), hereby

move to dismiss Plaintiffs’ Consolidated Complaint, Dkt. No. 44 (the “Complaint”) for the reasons

below.

                                 PRELIMINARY STATEMENT

         This action arises out of allegations made in a previous action against SCANA and its

management in which a class of plaintiffs alleged that SCANA had fraudulently deceived investors

about SCANA’s expected completion of a nuclear energy project in Fairfield County, South

Carolina. In this action, Plaintiffs seek to attach liability to Deloitte, which as the independent

auditor of SCANA’s financial statements, was tasked with obtaining reasonable assurance that the

financial statements in SCANA’s Form 10-Ks were materially accurate. Deloitte was not the

auditor of, and expressed no opinion regarding, SCANA’s non-financial statement disclosures,

which were the primary focus of the case against SCANA and its management. Nonetheless,

the majority of the allegations in this Complaint come directly from that case. In other words, the

vast majority of Plaintiffs’ lengthy consolidated complaint in this case pertains to statements made

by SCANA, not Deloitte, and which the federal securities laws and well-settled case law make

clear cannot form the basis of a claim against Deloitte. Simply put, this action cannot be viewed

through the lens of the prior case—Deloitte is not interchangeable with SCANA under federal

securities law.

         Once the Complaint is filtered for allegations directly relevant to a claim against Deloitte,

Plaintiffs’ pleading failures are stark. Only statements actually made by Deloitte are even

potentially actionable under the securities laws. Though the Complaint is long on allegations about




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the statements made by others, only two statements are alleged to have been made by Deloitte: 1

(i) Deloitte’s opinion that based on its audit, performed following professional standards, the

financial statements, taken as a whole, fairly represented SCANA’s financial position; and

(ii) Deloitte’s opinion that based on its audit, performed following professional standards, the

company maintained, in all material respects, effective internal controls over financial reporting.

These statements were made in connection with Deloitte’s two annual audits during the putative

class period and not in connection with quarterly reviews, upon which auditors do not issue any

public statements. Likewise, both are statements of opinion that are not actionable under well-

established securities law on the facts pleaded here. Indeed, the Complaint comes nowhere close

to creating a compelling inference that Deloitte did not believe the opinions it offered at the time

offered, as would be required for Plaintiffs’ claim to survive. The Complaint can and should be

dismissed for that reason alone.

       But the flaws in the Complaint run deeper. For example, Plaintiffs have failed to plead

facts supporting a “strong inference” of scienter by Deloitte, as is required for their claim under

the PSLRA. Nothing in the Complaint makes it any more plausible that Deloitte knew or was

reckless with respect to the alleged fraud at SCANA than that it was unaware of such conduct.



1
  Each of these statements was made by Deloitte & Touche, LLP, and all of the audit work that
forms the basis of Plaintiffs’ allegations was performed by Deloitte & Touche, LLP. The
Complaint does not specifically allege that Deloitte LLP, which is a separate legal entity, made
any public statement at all, nor does it make any allegations about actions taken by Deloitte LLP.
This is hardly surprising since Deloitte LLP does not perform audits or provide any other
professional services, whether for SCANA or any other entity. See Deloitte, About Us,
https://www2.deloitte.com/ui/en/legal/about-deloitte.html (last visited July 17, 2020). Plaintiffs’
claim against Deloitte LLP must therefore be dismissed without further analysis. See, e.g.,
McIntire v. China Mediaexpress Holdings, Inc., 927 F. Supp. 2d 105, 137-38 (S.D.N.Y. 2013)
(dismissing Section 10(b) claims against Deloitte LLP where Plaintiffs failed to allege that Deloitte
LLP had ultimate authority over alleged misstatements in an audit report issued by another Deloitte
entity).


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This, too, is sufficient reason to dismiss the Complaint altogether. And even if Plaintiffs had

properly identified a misstatement or omission of fact and had plausibly pleaded facts creating a

compelling inference of scienter, Plaintiffs also have not adequately alleged loss causation because

they have not pleaded that the losses they claim to have suffered have any nexus to anything

Deloitte did or failed to do. Finally, even though each of these other infirmities is enough to

dispense with this Complaint, Plaintiffs’ claim should also be dismissed because it is time-barred

based on Plaintiffs’ own allegations showing that this action was filed more than two years after

discovery of the relevant facts.

       Despite its heft, this Complaint falls far short of the mark. Plaintiffs cannot satisfy the

stringent pleading standards applicable to securities fraud cases by padding their Complaint with

irrelevant allegations, as they have tried to do here. Plaintiffs’ inability to plead a proper claim

against Deloitte is not surprising given the overall context of these proceedings. Most securities

fraud cases brought against auditors involve a restatement of the issuer’s financial statements to

correct an error in the company’s accounting. While a restatement does not necessarily suggest

flaws in an independent audit, it at least serves as an indication that the issues the company is

confronting impacted its financial statements. There has been no restatement here because the

issues SCANA has had to confront do not impact its financial statements, which were the only

aspect of SCANA’s operations subject to Deloitte’s audits. Despite extensive investigations of

SCANA by regulators and prosecutors, scrutiny by elected representatives in the South Carolina

legislature, and SCANA’s settlement of a prior class action (which, notably, concerned disclosures

other than its financial statements), SCANA never restated its financial statements. Plaintiffs here

have sought to create a claim against Deloitte where none exists. The Court should dismiss this

Complaint.




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                BACKGROUND ON DELOITTE’S ROLE AND STATEMENTS

I.        Deloitte’s Role as Independent Auditor of SCANA.

          Deloitte is an international accounting firm that provides financial statement audit and

review services for its clients. Deloitte was the independent outside auditor for SCANA and

provided audit services to SCANA during the Class Period and, to this day, remains the

independent outside auditor for SCANA’s now-parent company, Dominion Energy. (See, e.g.,

Compl. at 27, ¶ 80.) Despite Plaintiffs’ 210-page Complaint, the only statements Deloitte made

that relate to Plaintiffs’ claim consist of two sets of single-page audit opinions on SCANA’s

financial statements and internal controls over financial reporting for fiscal years 2015 and 2016,

which were included in SCANA’s annual reports on Form 10-K for those years.

          Deloitte’s limited role is critical to an evaluation of Plaintiffs’ securities fraud claim against

Deloitte. Public companies, such as SCANA, are required to file quarterly Form 10-Q and annual

Form 10-K reports with the Securities and Exchange Commission (“SEC”). A company’s annual

10-K must include financial statements that have been audited by an independent accounting firm

registered with the Public Company Accounting Oversight Board (“PCAOB”), such as Deloitte. 2

Form 10-Ks also include content that is not audited, such as Management’s Discussion and

Analysis (“MD&A”).3 As conceded by Plaintiffs, SCANA’s Form 10-Q quarterly reports, by

contrast, contain no audited financial information, nor do they contain audit opinions or any other

statements made by a company’s independent auditor. (See Compl. at 46, ¶ 114.) Thus, Deloitte

made no statements, let alone actionable ones, in connection with any of SCANA’s quarterly Form




2
    See PCAOB AS 1001; 2710.04.
3
    See id.


                                                      4
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10-Qs, and Plaintiffs’ criticism of those disclosures must be ignored when assessing the sufficiency

of their allegations against Deloitte.

          Public company audits are performed in accordance with PCAOB standards, which

incorporate and expound upon Generally Accepted Auditing Standards (“GAAS”). Under SEC

rules, certain public companies—including SCANA—are required to undergo integrated audits,

which include both a financial statement audit and an audit of internal controls over financial

reporting. As SCANA’s independent auditor, Deloitte provided audit opinions on the financial

statements filed in connection with SCANA’s Form 10-Ks and on the effectiveness of SCANA’s

internal controls over financial reporting, as of December 31, 2015 and 2016. (See Ex. A, SCANA

Form 10-K filed Feb. 26, 2016 at 44, 142; Ex. B, SCANA Form 10-K filed Feb. 24, 2017 at 44,

99; see also Compl. at 172-74, 183-85, ¶¶ 441-44, 458-61.)4           These opinions were dated,

respectively, February 26, 2016 and February 24, 2017. (Ex. A at 44, 142; Ex. B at 44, 99.) Both

opinions explained that Deloitte audited SCANA’s financial statements in accordance with

PCAOB standards, which require that auditors obtain “reasonable assurance” about whether the

financial statements are free of material misstatement, and that an audit includes examining “on a

test basis” evidence supporting amounts and disclosures in those statements. 5 (Ex. A at 44; Ex. B

at 44.)    The standards governing Deloitte’s audits expressly state that the auditor “has no


4
  In ruling on this motion to dismiss, the Court may consider the accompanying exhibits, which
are incorporated into the Complaint by reference. See, e.g., Katyle v. Penn, 637 F.3d 462, 466 (4th
Cir. 2011). The first reference to each exhibit contains a cite to the Complaint paragraph that
incorporates the exhibit. The attached exhibits—SCANA’s Form 10-Ks (which include Deloitte’s
audit opinions) and publicly available testimony and correspondence cited by Plaintiffs—include
only excerpts of the full documents to limit the volume of information provided. If the Court
prefers, Deloitte can provide the full documents. Although unnecessary given this incorporation,
the accompanying exhibits also may be considered at this stage as matters of public record subject
to judicial notice. See, e.g., Zak v. Chelsea Therapeutics Int’l, Ltd., 780 F.3d 597, 607 (4th Cir.
2015).
5
    See PCAOB AS 1001; AS 2201.


                                                 5
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responsibility to plan and perform the audit to obtain reasonable assurance that misstatements,

whether caused by errors or fraud, that are not material to the financial statements are detected.”

PCAOB AS 1001.02.

        As prescribed by PCAOB standards, Deloitte’s audit opinions stated that the financial

statements “are the responsibility of [SCANA’s] management” and that Deloitte’s responsibility

“is to express an opinion on the financial statements and financial statement schedule based on

[its] audits.” (Ex. A at 44; Ex. B at 44.) Deloitte further stated that it believed its audits provided

“a reasonable basis for [its] opinion.” (Id.) Moreover, they reported Deloitte’s “opinion” that

SCANA’s financial statements presented fairly, in all material respects, SCANA’s financial

position in accordance with GAAP, as of the end of the fiscal year. (Id.) Finally, Deloitte

expressed an unqualified opinion of SCANA’s internal control over financial reporting. (See Ex.

A at 142; Ex. B at 99.) As such, Deloitte’s opinions were restricted to the fair presentation of

SCANA’s financial statements as of a point in time. As is standard with audit opinions, they did

not extend to any other sections of SCANA’s annual report or other statements made by SCANA

and its executives regarding the nuclear project. 6

II.     Specific Statements Attributable to Deloitte.

        The Complaint asserts a claim against Deloitte for securities fraud under Section 10(b) of

the Exchange Act and SEC Rule 10b-5. Under the PSLRA’s exacting pleading standards for such

a claim, a plaintiff must note the specific statements of a defendant that are the bases for the claim.

15 U.S.C. § 78u-4(b)(1), (b)(2). Here, the specific Deloitte statements on which Plaintiffs base


6
 PCAOB AS 2710.04 states that an “auditor’s responsibility with respect to information in a
document does not extend beyond the financial information identified in his report, and the auditor
has no obligation to perform any procedures to corroborate other information contained in a
document.”



                                                  6
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their claim are limited to just two sets of opinions that Deloitte issued that were included in each

of SCANA’s 2015 and 2016 10-Ks:7

                                Statement                                  Complaint Paragraph

    Deloitte’s opinion that based on its audit, performed following ¶¶ 8, 191, 264-65, 284,
    professional standards, the financial statements, taken as a whole, 288-89, 298, 307, 439,
    fairly represented in all material respects SCANA’s financial 442-43, 459-60
    position.

    Deloitte’s opinion that based on its audit, performed following ¶¶ 8, 307, 444, 461
    professional standards, the company maintained, in all material
    respects, effective internal controls over financial reporting.


These opinions, which are included in Exhibits A and B attached hereto, are the only statements

Deloitte made during the Class Period, and thus the only statements upon which any claim against

Deloitte could potentially lie. Deloitte never made any statement, of any kind, about the nuclear

project, the progress of construction, or their completion.

          The remaining statements identified in Plaintiffs’ 210-page Complaint are all statements

of individuals or entities other than Deloitte and cannot support a claim against Deloitte. For

example, none of the following statements are attributable to or actionable against Deloitte:

                “[A]t this time SCANA was still publicly insisting that Unit 2 would be
                 completed by August 31, 2019, in direct contrast to SCANA’s own internal
                 conclusions. For example, on a July 28, 2016, earnings call, Byrne stressed
                 that ‘[t]he guaranteed [substantial] completion dates remain at August
                 of 2019 for Unit 2 and August 2020 for Unit 3. We don’t see anything
                 to change those.’” (Id. at 87, ¶ 235 (emphasis and alterations in original).)



7
  Although Plaintiffs allege that Deloitte made additional statements, those statements occurred in
the context of an engagement for another public company, totally unrelated to SCANA, for a time
period years after the Deloitte audits at issue here, which were performed under audit standards
that did not apply to Deloitte’s work for SCANA. Those allegations are thus wholly irrelevant to,
and cannot support, Plaintiffs’ claim. (See Compl. at 37-38, 41 ¶¶ 98-100, 103 (discussing
statements allegedly made by Deloitte in a February 19, 2020 Audit Report of Southern
Company—an entity wholly unrelated to SCANA).)


                                                   7
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              “[O]n a February 18, 2016 earnings call, Addison and Byrne discussed the
               supposed financial protections that the EPC Contract provided SCANA,
               including the fixed price option. Byrne further stated that ‘if there were to
               be a cessation of operations by the contractor [Westinghouse], that we could
               finish the plant on our own,’ thus falsely minimizing the risk of such a
               potential bankruptcy.” (Id. at 95, ¶ 261 (alterations in original).)

              “Byrne similarly reassured investors on the same call that Toshiba’s
               financial difficulties would not derail the completion of the Nuclear Project,
               stating that ‘[a]lthough ideally Toshiba would be without these stresses, we
               still anticipate completing our two new nuclear units.’ Indeed, despite
               the substantial evidence that neither the GSDCs nor the tax credits deadline
               would be met, Byrne told investors that by January 1, 2021, the Nuclear
               Project would be ‘operating at or near 100% for a period of time where they
               can guarantee – where they can prove to us that the output guarantee has
               also been met.’” (Id. at 121-22, ¶ 321 (alterations and emphasis in
               original).)

                           HEIGHTENED PLEADING STANDARD

       To survive a motion to dismiss, “a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Whether a

claim for relief is plausible depends on the factual allegations, because “the tenet that a court must

accept as true all of the allegations contained in a complaint is inapplicable to legal conclusions.”

Id. Accordingly, a “pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the

elements of a cause of action will not do.’” Id. (quoting Twombly, 550 U.S. at 555).

       Plaintiffs assert a single claim for securities fraud under Section 10(b) of the Exchange

Act, which requires Plaintiffs to plead: (1) a material misrepresentation or omission; (2) scienter;

(3) a connection with the purchase or sale of a security; (4) reliance; (5) economic loss; and (6)

loss causation. Dura Pharmaceuticals, Inc. v. Broudo, 544 U.S. 336, 342 (2005). Because

Plaintiffs allege federal securities fraud, Plaintiffs must not only satisfy the rigid pleading

requirements of Rule 9(b) of the Federal Rules of Civil Procedure, but also heightened pleading

standards under the PSRLA, through which “Congress charged courts to be vigilant in preventing


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     meritless securities fraud claims from reaching the discovery phase of litigation.” Cozzarelli v.

     Inspire Pharms. Inc., 549 F.3d 618, 623 (4th Cir. 2008).

             Fed. R. Civ. P. 9(b) requires Plaintiffs to “state with particularity the circumstances

     constituting fraud.” The PSLRA further requires a securities fraud claim to (1) “specify each

     statement alleged to have been misleading [and] the reason or reasons why the statement is

     misleading,” and (2) “state with particularity facts giving rise to a strong inference that the

     defendant acted with the required state of mind.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551

     U.S. 308, 321 (2007) (quoting 15 U.S.C. § 78u-4(b)(1), (b)(2)). The Fourth Circuit has also noted

     that the PSLRA modifies the traditional Rule 12(b)(6) analysis: “(1) by requiring a plaintiff to

     plead facts to state a claim and (2) by authorizing the court to assume that the plaintiff has indeed

     stated all of the facts upon which he bases his allegation of a misrepresentation or omission.”

     Teachers’ Ret. Sys. v. Hunter, 477 F.3d 162, 172 (4th Cir. 2007) (emphasis in original). A district

     court must dismiss a complaint on motion of any defendant if the plaintiff fails to meet the pleading

     requirements of the PSLRA. 15 U.S.C. §78u-4(b)(3)(A).

                                                 ARGUMENT

I.           PLAINTIFFS DO NOT MEET THE EXACTING PLEADING REQUIREMENTS
             TO STATE A VALID SECURITIES FRAUD CLAIM AGAINST DELOITTE
             UNDER SECTION 10(b).

             Plaintiffs’ Section 10(b) claim fails to meet the PSLRA’s exacting pleading standard

     because the only factual allegations proffered by Plaintiffs that could potentially relate to Deloitte’s

     actions and statements fail to adequately allege that Deloitte engaged in securities fraud (see infra

     Part I.A). In addition, Plaintiffs fail to adequately allege: an actionable misstatement or omission

     by Deloitte (see infra Part I.B); that Deloitte acted with scienter (see infra Part I.C); or that any

     alleged loss was caused by an alleged misstatement or omission by Deloitte (see infra Part I.D).

     Each of these pleading failures serves as an independent basis for dismissal of the Complaint.


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        A.       The Very Slim Set of Facts Alleged That Could Even Remotely Relate to
                 Deloitte’s Actions and Statements Fall Far Short of Supporting a Claim
                 Against Deloitte Under Section 10(b).

        Plaintiffs’ allegations against Deloitte must be viewed through the prism of Deloitte’s role

as independent outside auditor to SCANA. At best, Plaintiffs’ Complaint attempts to allege that

Deloitte’s audit opinions were false or misleading because they conflicted with purportedly

undisclosed facts relating to: (1) the feasibility of the construction schedule and costs of the nuclear

project; (2) the possibility of obtaining production tax credits in connection with the project; and

(3) the adverse findings in the Bechtel Report (defined below). However, the few facts alleged by

Plaintiffs do not support the inferences advanced by Plaintiffs in the Complaint. As explained

below, while these allegations may have been sufficient to state a claim against SCANA and

certain of its executives, none of these allegations support a plausible inference that any of the

statements of opinion made by Deloitte are actionable.

                 1.     Plaintiffs Have Not Alleged that Deloitte Was Responsible for Auditing
                        the Construction Schedule, and their Allegations Regarding Deloitte’s
                        “Special Audits” of the Costs of Nuclear Project Fail to Plausibly
                        Suggest Otherwise.

        In May 2008, SCANA’s subsidiary, South Carolina Electric and Gas Company

(“SCE&G”), and the South Carolina Public Service Authority (“Santee Cooper”) entered into an

agreement to construct two nuclear reactors at an estimated cost of $9.8 billion (the “Nuclear

Project”). (Compl. at 15-16, ¶¶ 37-39.) As alleged in the Complaint, SCANA submitted the

Nuclear Project’s scheduled completion dates—as estimated in SCANA’s contracts—to the South

Carolina Public Service Commission (“PSC”) for approval, which in turn were reviewed by the

South Carolina Office of Regulatory Staff (“ORS”) and deemed prudent by the PSC under the

Base Load Review Act (“BLRA”), S.C. Code Ann. §§ 58-33-210, et seq. (See, e.g., Compl. at 16,

18 ¶¶ 38, 47.)



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       In March 2009, the PSC approved construction of the Nuclear Project. (Id. at 20, ¶ 56.)

Pursuant to the BLRA, the PSC’s approval constituted “a final and binding determination” that

could “not be challenged or reopened in any subsequent proceeding” that “capital costs are prudent

utility costs and expenses and are properly included in rates so long as the plant is constructed or

is being constructed within the parameters of: (1) the approved construction schedule including

contingencies; and (2) the approved capital costs estimates including specified contingencies.”

S.C. Code Ann. § 58-33-275. The PSC subsequently approved SCANA’s petitions to modify the

construction schedule and cost estimates, finding that the modifications were “not the result of

imprudence on the part of the utility.” S.C. Code Ann. § 58-33-270(E)(1); (Compl. at 21, ¶ 60;

Compl. at 54, ¶ 135.). In addition, the PSC approved SCANA’s petitions for rate adjustments on

nine occasions. (Compl. at 21, ¶¶ 58-61.) Under the BLRA, once a prudency determination has

been made, a utility’s costs are then presumed to be prudent. S.C. Code Ann. § 58-33-275(A).

The ORS—a regulatory auditor with investigative authority—represented the public interest of

South Carolina before the PSC.8 Plaintiffs do not allege that Deloitte had knowledge that

representations of SCANA to its regulators were false.

       The BLRA prudency determinations dictated how the Nuclear Project’s costs had to be

accounted for in SCANA’s financial statements. Deloitte’s responsibility as auditor was to

determine whether the approved costs were accurately recorded and allocated—in other words,

that the costs claimed for construction were used for that purpose. Plaintiffs reference Deloitte’s

“special audits” of the Nuclear Project but concede that Deloitte’s special audit work only related

to Nuclear Project costs. (See, e.g., Compl. at 167, ¶ 437.) Specifically, the special audit was to



8
  See About ORS, South Carolina Office of Regulatory Staff, https://ors.sc.gov/about-ors (last
accessed July 9, 2020).


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determine whether incurred costs were being correctly recorded and allocated between SCE&G

and Santee Cooper – nothing more. From Deloitte’s perspective in auditing SCANA’s financial

statements, therefore, the regulator-approved, bona fide costs incurred by SCANA for the Nuclear

Project had to be capitalized—that is, recorded as an asset of SCANA—and then properly allocated

among the relevant stakeholders.9

       Plaintiffs’ allegations that attempt to expand Deloitte’s role related to the Nuclear Project

are conclusory. The Complaint fails to allege facts showing that Deloitte was required to or was

engaged to audit whether SCANA was “on track” to complete the Nuclear Project on schedule.

Nor does the Complaint allege that Deloitte was required to or was engaged to question the PSC’s

prudency determinations made pursuant to the PSC’s statutory authority, or to audit the regulatory

process that resulted in the prudency determinations. Quite simply, the Complaint fails to plead

that the “special audits” of cost allocation had anything to do with the schedule on which the

Nuclear Project would be completed.

               2.     Plaintiffs’ Allegations Regarding Production Tax Credits are
                      Unavailing.

       The Complaint contains several allegations regarding certain tax credits that might have

been achieved if the Nuclear Project had been operational by January 1, 2021, and that Plaintiffs

were somehow defrauded by Deloitte with respect to the possibility of obtaining the tax credits.

(See, e.g., Compl. at 16-17, ¶¶ 42-43.) Again, context is important when these allegations are

viewed through the proper Deloitte lens. The Complaint fails to disclose that the production tax

credits would not impact SCANA’s financial statements because (among other reasons) SCANA



9
 See, e.g., Financial Accounting Standards Board (FASB), Accounting Standards Classification
(ASC) 980-340-25-1 (“Rate actions of a regulator can provide reasonable assurance of the
existence of an asset.”).


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had committed to pass any benefit from earned tax credits directly to consumer in the form of

lower rates, resulting in an effectively neutral financial statement impact. The notes to the financial

statements in the 10-K explicitly informed stockholders that the tax credits would not benefit them

because, if they were earned, they would be passed through to SCANA’s ratepayers. (See Ex. A

at 81; Ex. B at 90.)

       Moreover, the financial statements that Deloitte was auditing did not guarantee that the

completion dates would be met. Nor did SCANA guarantee as much in its public filings. For

example, SCANA’s statements in the (unaudited) “RISK FACTORS” section of its 10-Ks

contemplated that “the ability to adhere to established budgets and construction schedules” related

to the Nuclear Project “may be affected by many variables.” (See Ex. A at 11; Ex. B at 10.) The

filings also cautioned that the tax credits may be “adversely affected” to “the extent that delays

occur . . . or [SCANA] otherwise become[s] unable to effectively manage and complete” the

Nuclear Project. (See Ex. A at 12; Ex. B at 11.) Ultimately, the tax credit allegations against

Deloitte do nothing to advance a shareholder securities fraud claim against the auditor.

               3.      Plaintiffs Have Not Plausibly Alleged That                     Deloitte    Had
                       Contemporaneous Knowledge of the Bechtel Report.

       Plaintiffs allege that (1) Deloitte was informed during the 2015 or 2016 audits that an

independent consultant, Bechtel, had been hired to do an assessment of the Nuclear Project, and

(2) Deloitte was provided a copy of a report that Bechtel produced (the “Bechtel Report”), which

allegedly made clear that the Nuclear Project would not be completed on the schedule previously

stated by SCANA. Plaintiffs are quick to wave around the Bechtel Report as some sort of smoking

gun. But the slightest push against the actual substantive allegations related to Deloitte and the

report collapse Plaintiffs’ theory. Specifically, Plaintiffs’ allegations are inconsistent with the

allegations of the plaintiffs in the class action against SCANA. There, the class plaintiffs alleged



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that SCANA had claimed work product privilege to avoid disclosing the Bechtel Report to other

parties. Yet, here, Plaintiffs allege that SCANA handed over that same report to its outside

auditors.

       Plaintiffs offer only two substantive alleged facts in support of this contradictory theory –

neither of which neither of which supports Plaintiffs’ allegations.       First, Plaintiffs cite the

testimony of Jimmy Addison, SCANA’s former Chief Financial Officer, for the proposition that

Deloitte had seen the Bechtel Reports and related presentations (collectively, the “Bechtel

Materials”) before Deloitte issued its audit opinions. (Compl. at 5, 100-02 ¶¶ 7, 275.) The

complete testimony—conveniently omitted from the Complaint—reveals that this allegation is

false. Mr. Addison testified that although he could not recall the specific date Deloitte saw the

Bechtel Materials, his discussion with Deloitte about Bechtel occurred “post abandonment”—i.e.,

after the date of Deloitte’s last audit opinion at issue.10 (Ex. C, Addison Dep. 97:11-13, October

3, 2018; Compl. at 101, ¶ 275.)11 He then specifically testified: “Q. So do you know now whether

– when Deloitte became aware of the results of the Bechtel assessment? A. I do not know the

answer to that.” (Ex. C, Addison Dep. 99:10-13)

       Second, Plaintiffs allege: “[I]n a September 21, 2015 email, James Swan IV, SCANA’s

Controller, states that “FYI – Deloitte will be asking about whether (or why not) we mention the

Bechtel consulting engagement . . . in the next 10-Q. If Santee ends up mentioning it, they may

feel strongly that we should too.” (Compl. at 114-15, ¶ 306; see also Ex. D, Swan E-mail at 1.)



10
  SCANA announced its abandonment of the Nuclear Project on July 31, 2017. (Compl. at 7, ¶
14.) Deloitte’s audit opinions, however, are dated February 26, 2016 and February 24, 2017—
pre-abandonment.
11
   A full transcript of Mr. Addison’s testimony is available on the ORS website at https://ors-
test.sc.gov/sites/default/files/Documents/Regulatory/electricNaturalGas/newNuclear/VCSummer
Units/PSC/depositions%20-%20Jimmy%20Addison%20Oct.%203%2C%202018.pdf.


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       Plaintiffs contend that this email proves that Deloitte had a copy of the Bechtel Report in

connection with rendering its audit opinions. Not so. The email suggests, at most, that Deloitte

may have been aware of the engagement. It says nothing about whether SCANA would share its

confidential work product with its outside auditors. And most notably, the email is dated

September 21, 2015, before any draft of the Bechtel Report even existed according to Plaintiff’s

own allegations. (See id. at 64, 66, 70 ¶¶ 168, 176, 184.) Nothing about the email remotely

supports an inference that SCANA shared its confidential work product with Deloitte at that time.

       Even accepting Plaintiffs’ allegations related to the Bechtel Report as true, there are no

allegations regarding how the report resulted in a material misstatement of SCANA’s financial

statements or Deloitte’s audit opinions. The notes to SCANA’s financial statements in the 2015

10-K annual report included discussion of the fact of, nature, extent, and estimated cost impacts of

project delays associated with the Nuclear Project, particularly given the amendment to the

Engineering, Procurement, and Construction (“EPC”) contract on October 27, 2015. (See, e.g., id.

at 178, 188-89, ¶ 449, 467.) The disclosures also addressed the challenges to the schedule and

continued risks related to the construction of the Nuclear Project. (See, e.g., id.) The Bechtel

Report allegations are without substance in the context of the claim against Deloitte.

       B.      The Complaint Alleges No Actionable Misstatements or Omissions by Deloitte
               of a Material Fact.

       Notwithstanding the lack of factual allegations setting forth even the possibility of an

actionable claim against Deloitte, the Complaint should be dismissed because it fails to allege facts

capable of establishing an actionable misstatement or omission by Deloitte. Plaintiffs contend that

Deloitte’s allegedly false and misleading statements and omissions arise out of: (i) Deloitte’s audit

opinions included in SCANA’s 2015 and 2016 10-Ks; (ii) SCANA’s statements in its 2015 and

2016 10-K’s that were not made by Deloitte; and (iii) SCANA’s statements in its 2016 10-Qs that



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were not made or audited by Deloitte. (See Compl. at 172-92, ¶¶ 441-72.) As explained below,

the only statements potentially actionable against Deloitte are limited to those actually made by

Deloitte—its audit opinions. Under the framework set forth by the Supreme Court, Deloitte can

only be liable for its audit opinions if: (i) it provided an audit opinion that it did not believe; (ii)

the audit opinions contain “embedded statements of fact” that are false; or (iii) the audit opinions

omit facts such that the opinion is misleading. Omnicare, Inc. v. Laborers Dist. Council Constr.

Indus. Pension Fund, 575 U.S. 175, 183-84, 194 (2015). The Complaint contains no facts

supporting any such inference.

                1.      Only Deloitte’s Opinions in Included in the SCANA 10-Ks are Properly
                        at Issue.

        As a threshold matter, an auditor can only be held liable under Section 10(b) for statements

that it made. See, e.g., In re aaiPharma, Inc., 521 F. Supp. 2d 507, 511 (E.D.N.C. 2007). “[T]he

maker of a statement is the person or entity with ultimate authority over the statement, including

its content and whether and how to communicate it.” Janus Capital Grp., Inc. v. First Derivative

Traders, 564 U.S. 135, 142 (2011). The only statements alleged to have been made by Deloitte

are its audit opinions that were included in SCANA’s 2015 and 2016 10-K’s and nothing more.

Yet, Plaintiffs purport to hold Deloitte liable for SCANA’s statements in its SEC filings. As a

matter of law, statements made by SCANA cannot form the basis of a Section 10(b) claim against

Deloitte. Id. at 141. It is axiomatic that Plaintiffs cannot rely on the alleged misstatements or

omissions of an audited company to assert a claim against the auditor. See, e.g., Special Situations

Fund III QP, L.P. v. Deloitte Touche, 33 F. Supp. 3d 401, 443 (S.D.N.Y. 2014), aff’d, 645 Fed.

Appx. 72, 75-76 (2d Cir. 2016) (summary order); Great Neck Capital Appreciation Inv. P'ship,

L.L.P. v. PricewaterhouseCoopers, L.L.P., 137 F. Supp. 2d 1114, 1121 (E.D. Wis. 2001) (auditor

not liable for misstatements in company’s press release). An auditor does not “by virtue of auditing



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a company’s financial statements, somehow make, own or adopt the assertions contained therein.”

Special Situations Fund III QP, L.P., 33 F. Supp. 3d at 443. As such, Deloitte cannot be liable for

SCANA’s quarterly statements in its 2016 10-Qs because Deloitte did not opine on them and could

not have omitted anything from an opinion it never made. See, e.g., In re aaiPharma, Inc., 521 F.

Supp. 2d at 511 (holding auditor not liable under Section 10(b) for misstatements in quarterly

financial statements); Lattanzio v. Deloitte & Touche LLP, 476 F.3d 147, 156 (2d Cir. 2007)

(“[M]isstatements contained in [the company’s] interim financial statements cannot be attributed

to Deloitte, and therefore they cannot form the basis for liability under § 10(b).”).

       Plaintiffs also seek to assert a claim against Deloitte based on its alleged “fail[ure] to either

require SCANA management to correct [its] representations, or withdraw as SCANA’s auditor.”

(Compl. at 183, ¶ 457.) According to Plaintiffs, “Deloitte’s failure to do so are omissions of

material fact.” (Id.) However, this allegation improperly relies on the alleged “representations”

of SCANA and not Deloitte. Furthermore, Plaintiffs’ allegation that Deloitte’s failure to somehow

force SCANA to make or correct some statement it made is not an actionable “omission” because

Plaintiffs have not alleged any facts showing how Deloitte could control the content of any

statement made by SCANA or its management. See, e.g., Janus, 564 U.S. at 142 (“For purposes

of Rule 10b-5, the maker of a statement is the person or entity with ultimate authority over the

statement, including its content and whether and how to communicate it.”). Thus, the only

potentially actionable statements for a claim against Deloitte are those that were made by Deloitte

and which are contained within its 2015 and 2016 audit opinions.




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               2.      Deloitte’s Audit Opinions Are Statements of Opinion, Not Fact.

       All the alleged fraudulent statements attributable to Deloitte as SCANA’s independent

auditor consist of statements of opinion on SCANA’s financial statements and internal controls.

(See, e.g., Compl. at 184, ¶ 460 (“We believe that our audits provide a reasonable basis for our

opinion.”) (emphasis added and citation omitted).) Indeed, accounting principles confirm that the

such statements are statements of opinion, and therefore, do not provide a guarantee over the

audited company’s financial statements. “The auditor’s report is the medium through which he

expresses his opinion or . . . disclaims an opinion.” PCAOB AS § 1001.01 (2016 Audit). Whether

the auditor expresses or disclaims an opinion, “[i]n either case, he states whether his audit has

been made in accordance with the standards of the PCAOB.” Id. (emphasis added). Importantly,

however, “[i]n the observance of the standards of the PCAOB, the independent auditor must

exercise his judgment in determining which auditing procedures are necessary in the

circumstances to afford a reasonable basis for his opinion.” PCAOB AS § 1001.05 (2016 Audit)

(emphasis added). Courts likewise recognize that audit reports are “statements of opinion.” See,

e.g., Querub v. Moore Stephens Hong Kong, 649 F. App’x 55, 58 (2d Cir. 2016); Starr Int’l U.S.A.

Invs., LC v. Ernst & Young, LLP, 131 F. Supp. 3d 241, 250 n.44 (S.D.N.Y. 2015).

               3.      Plaintiffs Have Not Adequately Alleged Deloitte’s Audit Opinions were
                       False.

       Alleging fraud in an opinion requires much more than just pointing to reasons the opinion

was wrong. In re SCANA Corp. Sec. Litig., No. 3:17-2616-MBS, 2019 U.S. Dist. LEXIS 54176,

at *33 (D.S.C. Mar. 29, 2019). “For [puffery or an opinion] to be properly alleged as misleading,

it requires specific factual allegations that the speaker did not in fact hold the stated belief or the




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supporting facts supplied by the speaker were untrue.” Id. Plaintiffs fail to make the required

specific factual allegations here. 12

                        i.       Plaintiffs Fail to Allege That Deloitte Subjectively Did Not
                                 Believe Its Audit Opinions.

        Even assuming that Deloitte’s audit opinions could be second-guessed, Plaintiffs failed to

allege facts showing that Deloitte subjectively did not believe the opinions that it rendered when

it did so. See, e.g., In re Puda Coal Sec., Inc., 30 F. Supp. 3d 230, 259 (S.D.N.Y. 2014). For

statements of opinion to be actionable, they must not only be objectively false, but also subjectively

false—“that is, that defendants did not honestly believe the statements when they made them.” Id.

(emphasis added). As one court has explained, “Plaintiffs must plead subjective falsity because

an auditor’s GAAS and GAAP assertions are statements of professional judgment and opinion,

not verifiable fact.” Buttonwood Tree Value Partners, LP v. Sweeney, 910 F. Supp. 2d 1199, 1208

(C.D. Cal. 2012). Here, Plaintiffs’ sole allegation regarding Deloitte’s belief—which is contained




12
   “A reasonable investor does not expect that every fact known to an issuer supports its opinion
statement.” Omnicare, 575 U.S. at 190. The same is true for an auditor’s opinion. See, e.g.,
Plaisance v. Schiller, No. H-17-3741, 2019 U.S. Dist. LEXIS 42073, at *29 (S.D. Tex. Mar. 14,
2019) (in context of claim against auditor, quoting Omnicare for proposition that “[r]easonable
investors understand that opinions sometimes rest on a weighing of competing facts.”). Although
Plaintiffs allege that Deloitte should have planned its audit differently, they fail to allege specific
facts about what audit planning Deloitte undertook or how Deloitte’s chosen method was deficient.
See In re Lehman Bros. Sec. & ERISA Litig., 799 F. Supp. 2d 258, 315 n.291 (S.D.N.Y. 2011).
        To allege that an auditor defendant made a false statement about GAAS
        compliance, plaintiffs must do more than simply recite a GAAS rule or procedure,
        claim that defendants failed to follow that rule, and point to adverse results down
        the road. Plaintiffs must make specific allegations about the steps an auditor took,
        the way in which it planned its audit, and the procedures it employed.
Oaktree Capital Mgmt., L.P. v. KPMG, 963 F. Supp. 2d 1064, 1086 (D. Nev. 2013) (citation
omitted). Without more, Plaintiffs cannot plausibly allege that Deloitte made an actionable
misstatement simply because Deloitte stated that its audit was conducted in accordance with
PCAOB standards.


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within a single paragraph of the 210-page complaint—relates only to Deloitte’s statements

regarding GAAP and certain alleged “representations” regarding “SCANA’s interim reports”:

       [As] a result of the foregoing, Deloitte’s clean audit reports did not fairly align with
       information both in its possession and required to be reviewed by it at the time it
       issued its clean audit reports, and it did not believe its representations in its clean
       audit reports that SCANA’s financial statements were presented in conformity with
       GAAP or that SCANA’s interim reports were accurate and free from material
       misstatements.

(Compl. at 171, ¶ 439) (emphasis added).

       As an initial matter, a necessary assumption underlying this allegation is that SCANA’s

financial statements were not presented in conformity with GAAP, but such an assumption is

undermined by the fact that SCANA has not been forced to restate its financials and that the SEC—

despite a multi-year, ongoing investigation of SCANA—has not alleged in its lawsuit that

SCANA’s financial statements were not in accordance with GAAP. (See, e.g., id. at 165-66, ¶¶

433-35.) The fact that an auditor does not restate its original opinion provides a “strong inference”

of subjective good faith. Fidel v. Farley, 392 F.3d 220, 234 (6th Cir. 2004).

       Plaintiffs’ allegation is also defective on its face because it mischaracterizes Deloitte’s

alleged statements and the scope of its audit. Deloitte never audited “SCANA’s interim reports”

and thus never opined—let alone “represent[ed]”—that they “were accurate and free from material

misstatements.” (Compl. at 171, ¶ 439.) It necessarily follows that Deloitte cannot form a belief

about a statement it never made. Furthermore, Plaintiffs do not identify any line items in any of

the financial statements that were misstated. This is unsurprising, because the BLRA and

accounting standards—e.g., ASC 980—dictated the accounting treatment for the Nuclear Project,

which had been repeatedly deemed prudent by the PSC. As explained in the many of the auditing

standards cited by Plaintiffs, an auditor’s opinion is not a “guarantee” or “representation.” (See,




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e.g., id. at 25, ¶ 75 (explaining that an independent audit is “clearly not a guarantee”) (citation

omitted).)

       In any event, Plaintiffs’ vague, isolated allegation that Deloitte did not believe its opinion

“that SCANA’s financial statements were presented in conformity with GAAP” is insufficient

under the strict pleading standards of Omnicare, Fed. R. Civ. P. 9(b), and the PSLRA. Plaintiffs

ask this Court to ignore the stringent pleading standards and draw an implausible inference of

subjective disbelief based on inconclusive “red flags” that Deloitte allegedly “ignored.” (See, e.g.,

Compl. at 167-71, ¶ 468.) Putting aside the dubious nature of these “red flags,” (see infra Part

I.C.2.iii.), these allegations amount to bald claims that Deloitte should have known that its opinions

may be inaccurate. However, allegations regarding what a speaker should have known fall well

short of the standard required to allege securities fraud—e.g., allegations that the opinion “falsely

describe[d the speaker’s] state of mind[.]” Omnicare, 575 U.S. at 184.

       Likewise, even assuming they are true, Plaintiffs’ assertions that SCANA’s financial

statements did not conform to relevant accounting standards are irrelevant to the Omnicare

analysis, since they say nothing about Deloitte’s subjective disbelief in its audit opinion. See, e.g.,

In re Lehman Bros. Sec. & ERISA Litig., 799 F. Supp. 2d at 303 (“[A]llegations that a company

violated GAAP in preparing its financial statements are not sufficient, in and of themselves, to

state a claim that an auditor’s opinion of GAAP compliance is a factual misstatement.”). Plaintiffs

claim that SCANA admitted that its past financial statements were not in accordance with GAAP

because it took certain impairment charges in 2017 and 2018, but that is simply untrue based on

the public filings and an accurate understanding of the accounting standards and how they work.

The impairments were not restatements; nor were they admissions that SCANA’s prior financial

statements “were not in accordance with GAAP.” (See Compl. at 154-56, ¶¶ 407-11.) Rather, as




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the documents Plaintiffs reference make clear, these impairments were taken because of SCANA’s

decision—in 2017—to abandon the Nuclear Project and its related decisions (a) not to seek

prudency review of costs that had not yet been deemed prudent by the PSC, and (b) to commit “to

regulators and the public that the recovery of the initial capital investment in the facility would not

be sought from customers.” (Id. at 155, ¶ 408.) These events in 2017 provide no evidence that

the 2015 or 2016 financial statements were not in accordance with GAAP.

       Finally, Plaintiffs attempt to manufacture an actionable Deloitte statement based on the

notes to SCANA’s financial statements, primarily contending that Deloitte must have known all

along that the Nuclear Project would never be completed in time for SCANA to achieve the tax

credits. (See, e.g., id. at 176-81, ¶¶ 447-54.) This is a red herring for two reasons.

       First, the tax credits were never earned and never recorded in SCANA’s financial

statements, and Plaintiffs do not suggest otherwise. Second, as is clear in the financial statements

and the disclosures on which Plaintiffs rely, if these tax credits had ever been earned, they would

have been passed through only to SCANA’s ratepayers—not, as Plaintiffs allege, to its investors.

Thus, if they had ever been earned, the tax credits would have been financially immaterial to

SCANA and its shareholders. (See, e.g., id. at 178, 189 ¶¶ 449, 467 (“When and to the extent that

production tax credits are realized, their benefits are expected to be provided directly to SCE&G’s

electric customers”) (emphasis added).) In other words, the ability or inability to achieve the tax

credits did not affect SCANA’s financial statements, and thus had no applicability or effect on the

Deloitte opinions that must form the basis of Plaintiffs’ claim. Even so, the disclosures noted that

there were risks that the tax credits would not be achieved. (See, e.g., id. at 178, ¶ 449 (“Based on

the guaranteed substantial completion dates provided above [August 2019 and 2020], both New

Units are expected to be operational and to qualify for the nuclear production tax credits; however,




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further delays in the schedule or changes in tax law could impact such conclusions.”) (quoting

SCANA Form 10-K filed Feb. 26, 2016) (emphasis added).) 13 Ultimately, these allegations do

nothing to suggest that Deloitte did not believe the opinions it issued on SCANA’s financial

statements.

                       ii.     Plaintiffs Fail to Allege That Deloitte’s Opinions Regarding
                               SCANA’s Financial Statements Contained Embedded
                               Misstatements of Fact.

       Plaintiffs do not plead that Deloitte’s audit opinions contained “embedded statements of

[untrue material] facts.” Even if they did, such an allegation is not actionable because “[a]udit

reports, labeled ‘opinions’ and involving considerable subjective judgment, are statements of

opinion,” even when they rely on a material fact in the underlying financial statements. Querub,

649 F. App’x 55 at 58 (citing Omnicare, 575 U.S. at 185). Accordingly, Deloitte’s audit opinions

“[do] not contain the financial statements as ‘embedded facts’” and Deloitte “is not liable for errors

in the financial statements . . . .” Special Situations Fund III QP, L.P. v. Marrone Bio Innovations,

Inc., 243 F. Supp. 3d 1109, 1119 (E.D. Cal. 2017).

                       iii.    Plaintiffs Fail to Allege That Deloitte’s Opinions Regarding
                               SCANA’s Financial Statements Contained a Material Omission.

       Plaintiffs also do not sufficiently allege that Deloitte’s audit opinions omitted material

facts. To plead a material omission under Omnicare, Plaintiffs are required to identify specific

facts omitted from Deloitte’s audit opinions and must allege specific facts showing that Deloitte

knew of these facts when the audit opinions were issued. 575 U.S at 194. Plaintiffs cannot

“circumvent the particularity and materiality requirements of a § 10(b) claim by alleging in general



13
  Plaintiffs also mischaracterize statements about “prudency,” which is a term of art under the
BLRA—i.e., when the PSC approves a change, that is a “prudency” determination. (Compl. at
179-80, ¶ 451.)


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terms that the defendant . . . failed to disclose some fact cutting the other way.” In re Plains All

Am. Pipeline, L.P., 245 F. Supp. 3d 870, 892 (S.D. Tex. 2017) (internal citation omitted).

       Here, the only omissions alleged in the Complaint are either contained in SCANA’s

statements and not Deloitte’s opinions, or they otherwise relate to unaudited quarterly statements

that are irrelevant to any potentially actionable statements made by Deloitte. (See Compl. at 174-

75, 181, 183, 186-87 ¶¶ 445-46, 454, 457, 463-64.) These allegations tell this Court nothing about

what facts Deloitte allegedly omitted from its statements—i.e., its audit opinions. Accordingly,

Plaintiffs fail to plead that Deloitte’s opinions were false for omitting a material fact. See Marrone

Bio Innovations, 243 F. Supp. 3d at 1119.

       C.      Plaintiffs Fail to Allege a Strong Inference of Scienter.

       Not only does the Complaint fail to plead any actionable misstatement by Deloitte, it also

fails to plead facts creating a “strong inference” of scienter – the requisite mental state of the

defendant to establish an intent to defraud. While a strong inference of scienter is required in any

case, in cases against independent auditors, as here, the standards are even more exacting.

               1.      Plaintiffs’ Stringent Pleading Burden.

       Plaintiffs have not met their heavy burden for pleading, with particularity, facts supporting

a “strong inference” that Deloitte acted with scienter—i.e., “intent to deceive, manipulate, or

defraud.” Tellabs, 551 U.S. at 318-19. This “strong inference ‘must be more than merely plausible

or reasonable -- it must be cogent and at least as compelling as any opposing inference of non-

fraudulent intent.’” Pub. Emples. Ret. Ass’n v. Deloitte & Touche LLP, 551 F.3d 305, 306 (4th

Cir. 2009) (quoting Tellabs, 551 U.S. at 314). To allege conduct sufficient to show scienter, a

plaintiff must plead either “intentional misconduct” or “severe recklessness.” Cozzarelli, 549 F.3d

at 623. “Intentional misconduct encompasses deliberate illegal behavior.” Iron Workers Local 16




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Pension Fund v. Hilb Rogal & Hobbs Co., 432 F. Supp. 2d 571, 578 (E.D. Va. 2006). Similarly,

“‘severe recklessness’ is, in essence, ‘a slightly lesser species of intentional misconduct,’” and it

requires “‘an act so highly unreasonable and such an extreme departure from the standard of

ordinary care as to present a danger of misleading the plaintiff to the extent that the danger was

either known to the defendant or so obvious that the defendant must have been aware of it.’”

Ottmann v. Hanger Orthopedic Grp., Inc., 353 F.3d 338, 343-44 (4th Cir. 2003) (citations

omitted). Ultimately, dismissal is proper if “the inference that defendants acted innocently, or

even negligently, [is] more compelling than the inference that they acted with the requisite

scienter.” Pub. Emples. Ret. Ass’n, 551 F.3d at 313.

        The standard for pleading scienter for securities fraud claims against independent auditors

is particularly demanding. See, e.g., Dronsejko v. Thornton, 632 F.3d 665 (10th Cir. 2011)

(collecting cases from the Third, Fourth, Sixth, and Ninth Circuit Courts of Appeal). The

especially heightened standard requires “‘a mental state so culpable that it approximates an actual

intent to aid in the fraud being perpetrated by the audited company.’” Id. at 665 (citation omitted).

Plaintiffs “must demonstrate that the [auditors] were either knowingly complicit in the fraud” or

that they were “so reckless in their duties that their audit ‘amounted to no audit at all.’” Pub.

Emples. Ret. Ass’n, 551 F.3d at 314 (quoting SEC v. Price Waterhouse, 797 F. Supp. 1217, 1240

(S.D.N.Y. 1992)).14 The PSLRA “does not permit district courts to speculate as to the existence

of unpled and unidentified facts that could raise a strong inference of scienter.” Reiger v. Price


14
   In Pub. Emples. Ret. Ass’n, the Fourth Circuit also articulated the recklessness standard as “so
reckless in their duties as to be oblivious to malfeasance that was readily apparent.” 551 F.3d at
314. However, the Fourth Circuit noted that the “no audit at all” phrasing was simply another way
of describing this standard. See id. (“[The Company] would not have needed to go out of its way
to produce false evidence of control had the [auditors] . . . been so reckless in their duties that their
audit ‘amounted to no audit at all,’ as the Southern District of New York has described the
standard.”).


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Waterhouse Coopers Llp, 117 F. Supp. 2d 1003, 1011 (S.D. Cal. 2000). Even pleading that an

auditor was in “possession of documents which would lead a reasonable accountant to discover its

client’s fraud” is insufficient “to satisfy either the particularity or strong inference requirements of

the Reform Act. . . .” Id. at 1012. As one court noted, the “circular reasoning” of allegations that

an auditor must have acted with scienter because it failed to uncover conduct that “would have

been obvious” with an adequate audit “may support an inference of negligent mismanagement, but

they are not sufficient to make intentional or reckless fraud at least as compelling as plausible

nonculpable explanations.” Plaisance, 2019 U.S. Dist. LEXIS 42073 at *40-41. Courts regularly

dismiss Section 10(b) claims against independent auditors for failure to plead scienter even when

a claim against the company or its personnel is pleaded adequately. 15 The same result is warranted

here.

                2.      Plaintiffs Fail to Plead Severe Recklessness Sufficient to Show
                        Scienter.

        Plaintiffs advance four main theories in support of their scienter allegations against

Deloitte:

        (i)     Deloitte violated various auditing and accounting standards in conducting
                its audit of SCANA’s financial statements and internal controls;

        (ii)    Deloitte received and ignored the Bechtel Materials as well as information
                regarding Nuclear Project costs that it allegedly obtained during the course
                of a “special audit”;

        (iii)   Deloitte should have discovered other alleged “red flags” in their audit; and

        (iv)    Deloitte’s scienter is demonstrated by several “other circumstances.”


15
   See, e.g., In re Advanced Battery Technologies, Inc., 781 F.3d 638, 643-44 (2d Cir. 2015)
(district court granted motion as to auditor only); Dobina v. Weatherford Int’l Ltd., 909 F. Supp.
2d 228, 246, 256 (S.D.N.Y. 2012) (scienter adequately alleged as to CFO’s statement on internal
controls, but not as to auditor’s opinion on same); In re Scottish Re Grp. Sec. Litig., 524 F. Supp.
2d 370, 395, 398 (S.D.N.Y. 2007) (same).


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(Compl. at 166-72, ¶¶ 436-39, 440.) As explained below, these allegations, both individually and

collectively, fail to satisfy the demanding standard for alleging auditor scienter.

                       i.      Plaintiffs’ Allegations of PCAOB, GAAS, and GAAP Violations
                               Do Not Establish Scienter.

       Plaintiffs first allege that Deloitte’s purported violations of various auditing and accounting

standards establish scienter. This is wholly inadequate. The law is clear that allegations of

violations of such standards “fail to satisfy the scienter requirements of Section 10(b)” and that the

“misapplication of accounting principles by an independent auditor does not establish scienter.”

Ganey v. PEC Sols., Inc. (In re PEC Sols., Inc. Sec. Litig.), 418 F.3d 379, 389 (4th Cir. 2005)

(citation omitted). Yet, the Complaint’s scienter allegations boil down to a recitation of a laundry

list of auditing standards and other literature (Compl. at 24-47, ¶¶ 69-115), followed by a

description of how—in Plaintiffs’ opinion—Deloitte “should have” reviewed other information,

conducted a better audit, and known that SCANA was allegedly fraudulently misrepresenting the

Nuclear Project’s construction progress. It is not enough to identify PCAOB Standards and then

allege in conclusory fashion that (i) the auditor did not comply with those standards, and (ii) if the

auditor had complied with those standards, the alleged fraud of the company would have been

uncovered. See, e.g., In re PEC Sols., Inc. Sec. Litig., 418 F.3d at 389. Courts routinely reject this

strategy as legally insufficient to establish “the recklessness approaching actual intent required by

the PSLRA.” In re Longtop Fin. Techs. Ltd. Sec. Litig., 910 F. Supp. 2d 561, 575 (S.D.N.Y. 2012).

“Without supporting allegations suggesting that [the auditor] failed to perform even a ‘cursory’

audit, this generalized assertion [of audit standards violations] fails to adequately allege scienter

under the PSLRA.” Id. at 576. And it is telling that—despite the intense scrutiny that SCANA

has recently faced—Plaintiffs have not alleged that there has been a restatement of the financials

or that the SEC has otherwise called for a restatement. See, e.g., Iron Workers Local 16 Pension



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Fund, 432 F. Supp. 2d at 588 (noting that allegations of GAAP violations were weakened by the

fact that “under the scrutiny of industry regulators, [the audited company] has not restated its

earnings during the Class Period and neither the SEC nor any other entity has called for a

restatement.”); see Fidel, 392 F.3d at 230-32 (dismissing securities fraud claim against auditor,

noting the lack of restatement of the subject financial statements undermines scienter). For these

reasons, Plaintiffs’ general allegations that Deloitte violated accounting or audit procedures,

without more, fail to establish scienter.

                       ii.     Plaintiffs’ Allegations Regarding Deloitte’s Purported
                               Knowledge of the Bechtel Report and Deloitte’s Special Audits
                               are Unfounded, Conclusory, and, in any Event, Unavailing.

       Plaintiffs next attempt to allege a strong inference of scienter by alleging that Deloitte knew

about the Bechtel Materials, but this too falls short of alleging “severe recklessness” on the part of

Deloitte. Specifically, Plaintiffs allege that (a) Deloitte received the Bechtel Materials at the time

they were issued and, (b) that as a result of Deloitte’s alleged “special audits,” it “knew that the

Nuclear Project costs were well in excess of budgets given the level of completion, and that the

Nuclear Project was not progressing as budgeted—significant evidence that SCANA would not be

able to complete the Nuclear Project by 2021 in order to receive the Nuclear Tax Credits.” (Compl.

at 167, ¶ 437.) As discussed above and below, these allegations are belied by the specific factual

allegations contained in the Complaint, none of which support the inference Plaintiffs seek.

                               a.      The Bechtel Materials.

       Plaintiffs’ first allegation purporting to establish Deloitte’s receipt and knowledge of the

Bechtel Materials relies on the 2018 testimony of the CFO of SCANA, Jimmy Addison, given

before the PSC. (See id. at 163-64, ¶ 428.) As explained in more detail above (see supra Part

I.A.3.), the actual testimony contradicts Plaintiffs’ conclusion that Addison “conclusively testified




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that Deloitte had in fact reviewed the Bechtel Reports prior to issuing its clean audit report.” (Id.)

In addition to admitting that he did not know when Deloitte received the results of Bechtel’s work,

Mr. Addison also testified that:

       “[Deloitte] has gone back and looked at it completely and said the(y) did not see
       any gaps in our disclosures.”

       “I don’t know specifically when, sometime obviously post abandonment.”

       “[T]hey had gone back with their local team and their national team and reviewed
       all the disclosures at the point in time that they were made, and read th[e Report].
       They did not see any gaps in the disclosure at the time they were made.”

(Id. at 100-02, ¶ 275 (emphasis added).) Thus, the basis for the allegation that Deloitte’s review

of the Bechtel Materials establishes its scienter in the issuance of its audit opinions is testimony

that Deloitte reviewed the Bechtel Materials after it issued the opinions and after the Nuclear

Project was abandoned. The “strong inference of scienter” that Plaintiffs hope to extract from

Mr. Addison’s testimony collapses under even the slightest scrutiny.

       The more compelling and logical inference to derive from Mr. Addison’s testimony is that

Deloitte did not review the Bechtel Materials before the 2015 and 2016 10-Ks were issued.

Instead, Deloitte later looked back at the 2015 and 2016 10-Ks to evaluate the material impact, if

any, of the newly disclosed information on its audit opinions for those years. And notably, despite

all the scrutiny applied to SCANA’s disclosures by both new management at SCANA and several

government authorities, SCANA has not withdrawn or restated any of those financial statements.

       Thus, the Complaint’s primary “factual” allegation purportedly tying knowledge of the

Bechtel Materials to Deloitte at the time of the alleged violative statements does nothing of the

sort. Plaintiffs’ claim that Mr. Addison “conclusively testified that Deloitte had in fact reviewed

the Bechtel Reports prior to issuing its clean audit report” is wrong.




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       Plaintiffs’ only other factual allegation purporting to establish that Deloitte knew about the

Bechtel Materials at the time of the 2015 and 2016 audits arises out of a September 21, 2015 e-

mail from SCANA’s Controller, James Swan IV, to two other SCANA employees, stating in

pertinent part: “FYI – Deloitte will be asking about whether (or why not) we mention the Bechtel

consulting engagement in our discussion of NND in the next 10-Q.” (Ex. D at 1 (emphasis added);

see also Compl. at 114-15, ¶ 306.) According to Plaintiff, this e-mail “make[s] clear that Deloitte

received” the Bechtel Reports and Presentation when they were created. (Compl. at 167, ¶ 437.)

However, it does nothing of the sort. At most, this e-mail suggests that Deloitte may have been

told that SCANA hired an engineering consultant for the Nuclear Project. It provides no basis to

infer that Deloitte was aware of the conclusions contained in a presentation or in reports that had

yet to be issued. Placed in the relevant timeline, Mr. Swan’s specific reference to a “consulting

engagement”—rather than an assessment, report, or presentation—is not a coincidence. Plaintiffs

allege that (1) the Bechtel Presentation occurred on October 22, 2015; (2) the First Bechtel Report

was not issued until November 9, 2015; and (3) the Second Bechtel Report was not issued until

February 5, 2016. (See id. at 64, 66, 70 ¶¶ 168, 176, 184.) Thus, when Mr. Swan sent this e-mail

on September 21, 2015, Bechtel’s findings had not even been developed. And it is compelling

that Plaintiffs cite no correspondence at the time of or following the issuance of the Bechtel

Materials that suggests that Deloitte was ever aware of Bechtel’s findings. It is not hard to imagine

why. As the Complaint laboriously alleges—and as further exemplified by SCANA’s second

highest ranking executive recently pleading guilty to criminal fraud—certain SCANA executives

apparently concealed the Bechtel Materials from regulators, investors, the public, and even other




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SCANA executives. (See. e.g., id. at 151-52, 165, ¶¶ 401, 432.)16 Given the paltry allegations

offered by Plaintiffs, the more compelling inference is that Deloitte was among those kept in the

dark.

        Mr. Swan’s e-mail is similar in effect to a witness statement which the District Court of

Maryland found insufficient to establish the scienter of an outside auditor in In re Acterna Corp.

Sec. Litig., 378 F. Supp. 2d 561 (D. Md. 2005). In that case—which involved overstated

goodwill—the former accountant of the audited company stated that the auditor “had ‘started doing

the work for it [the write-off] but hadn’t finished the analysis yet. We were still recalculating then.

I remember because of all the work I was doing.’” Id. at 579. From this, the plaintiffs alleged

“that ‘Defendants knew that [the audited company] would have to take a significant goodwill

impairment charge’ . . . but nevertheless ‘continued to represent to the investing public that its

goodwill was not impaired.’” Id. In dismissing the claim, the court explained that “absent from

the complaint is an allegation that once the analysis was complete, [the auditor] had concluded that

there was an impairment to goodwill, and that it, nevertheless, allowed the company to issue the

subsequent statements that it was not impaired.” Id.

        Like In re Acterna Corp., Mr. Swan’s e-mail does not suggest that any conclusions had

been reached by Bechtel or SCANA—much less Deloitte (if it can be plausibly alleged that it knew

of the engagement)—at the time of the e-mail. The mere hiring of an engineering consultant on a

nuclear construction project is hardly an extraordinary event which must lead to the scienter




16
   As acknowledged by Plaintiffs, “SCANA[] deci[ded] to withhold the Bechtel Report . . . based
on an assertion of privilege”. (Compl. at 142, ¶ 375.) Although Plaintiffs vaguely allege that
“internal documents make clear that SCANA shared the Bechtel Report with Deloitte” and thereby
waived any privilege, they fail to identify the purported “internal documents” supporting this
allegation. (Id. at 139, ¶ 365.)



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conclusion that Plaintiffs imply, and nothing in Plaintiffs’ allegations plausibly suggests that the

scope of the Bechtel engagement or any results of its work had ever been accurately disclosed to

Deloitte.17 In fact, Mr. Swan’s statement in the email (on which Deloitte was not copied) that

“[t]he initial thinking I believe is that we will not mention it, since the scope of their work is so

limited” suggests that he was already wary of the significance of the engagement. (Ex. D at 1

(emphasis added).) Ultimately, Plaintiffs have failed to plausibly allege that Deloitte received the

Bechtel Materials at any time prior to issuing its opinion, and so they are unable to establish

scienter through the Bechtel Materials.

                               b.     The “Special Audits.”

       Plaintiffs seek to bolster their scienter inference by misconstruing certain “special audits”

by Deloitte. (Compl. at 110, ¶ 297.) But Plaintiffs completely mischaracterize the scope of

Deloitte’s engagement related to the “special audit” work. As noted above, SCANA sought PSC

approval for the substantial completion deadlines of the Nuclear Project, which were reviewed by

ORS and which the PSC deemed prudent under the BLRA, with the BLRA dictating how costs of

the Nuclear Project must be accounted for in SCANA’s financial statements. (See, e.g., id. at 18,

21 ¶¶ 47, 60-61.) Deloitte audited SCANA’s financial statements under the BLRA guidelines.

Bona fide costs SCANA incurred for the Nuclear Project were required to be capitalized—that is,




17
   Even if this e-mail could somehow suggest—to the exclusion of all reasonable inferences—that
Deloitte actually received and reviewed three sets of subsequently-issued materials from Bechtel,
Plaintiffs still fail to satisfy Fed. R. Civ. P. 9(b) and the PSLRA by pleading specific allegations
about when and how Deloitte obtained such materials, and when Deloitte allegedly learned of a
falsity in some statement it made. See, e.g., Iron Workers Local 16 Pension Fund, 432 F. Supp.
2d at 579 (“[P]laintiffs must plead specific facts concerning . . . when each defendant . . . learned
that a statement was false [and] how that defendant learned that the statement was false . . . .”)
(citing In re First Union Corp. Sec. Litig., 128 F. Supp. 2d 871, 886 (W.D.N.C. 2001)).


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recorded as an asset of SCANA. No agreement, rule, law, or regulatory guidance required Deloitte

to audit whether SCANA was “on track” for completing the Nuclear Project on schedule.

        Plaintiffs acknowledge that the “special audits” were just related to Nuclear Project costs,

but they then jump to conclusions that this limited cost-allocation work by Deloitte somehow

involved much more. The scope of Deloitte’s “special audits” was simply to test whether the

Nuclear Project’s costs were presented fairly in accordance with GAAP and properly allocated

between SCG&E and Santee Cooper, nothing more, and nothing about the timeliness of

completion. In any event, even if Deloitte had discovered that construction costs exceeded

budgets, it would not be reasonable to infer from such a discovery that Deloitte could only

conclude that the 10-K footnote disclosures touching on substantial completion were wrong, much

less fraudulent, particularly given the PSC’s multiple prudency approvals of revised schedules and

cost estimates and the acknowledgment in the 10-Ks of risks related to the schedules.

                       iii.    Plaintiffs’ “Red Flags” Theory is Speculative and Fails to
                               Adequately Allege Scienter.

        Plaintiffs also rely on “red flag” allegations to infer the requisite scienter by Deloitte.

Stripped of the “red flag” label that Plaintiffs attach to them, however, the allegations are rife with

illogical leaps and stacked inferences that contradict Plaintiffs’ conclusions and the law. Plaintiffs

allege that:

        In addition to the Bechtel Reports and the information it obtained in connection
        with its special audits, a deluge of internal documents and performance metrics
        available to Deloitte that it should have reviewed pursuant to its obligations under
        PCAOB Standards also consistently documented significant red flags with the
        Nuclear Project, including that it was hopelessly delayed, plagued by excessive
        costs, and could not be in service by 2021, the drop-dead date essential to receiving
        the Nuclear Tax Credits.
(Id. at 167-68, ¶ 438 (emphasis added).)




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        For starters, Plaintiffs would have the Court ignore that SCANA was presenting its

regulators with information that supported the timetable, which Deloitte would have no reason to

disbelieve. Plaintiffs are unable to allege that the full scope of information available to Deloitte—

whatever that information was—required a conclusion that SCANA’s timetable was fraudulent.

And Plaintiffs’ claim that Deloitte’s audit should have determined that SCANA’s timetable was

fraudulent is pure speculation. Even accepting Plaintiffs’ argument that Deloitte had access to

some evidence that cut against management’s stated view that the completion deadlines would be

met, Plaintiffs have no basis for contending that the entirety of the information available to Deloitte

was irreconcilable with management’s stated view. And given the express statement in the

financial statements that the completion dates could turn out to be too optimistic, there is no basis

for an inference that Deloitte believed that management’s expectations were not realistic ones,

albeit subject to the caveats that also were included in the financial statements.

        In any event, “courts have declined to ‘extend 10b-5 liability to instances where an auditor

fails to investigate certain red flags that, while themselves . . . not indicative of actual fraud, could,

if pursued, [have led] to the discovery of fraud.’” In re DNTW Chtd. Accountants Sec. Litig., 172

F. Supp. 3d 675, 685-86 (S.D.N.Y. 2016). “In order to justify a strong inference of scienter, . . .

the ‘red flags’ must be closer to ‘smoking guns’ than to mere warning signs.” In re SCB Computer

Tech., Inc., 149 F. Supp. 2d 334, 363 (W.D. Tenn. 2001).

        Here, Plaintiffs’ purported “red flags” were allegedly contained in: (1) “SCANA Board

and SCANA-Santee Cooper Joint Board Minutes and Presentations”; (2) “Risk Management

Committee Meeting Minutes and Presentations”; (3) “Regulatory Correspondence”; (4) “The

CORB Report and Presentations”; (5) “Historical Date-to-Date Performance Metrics”; (6)

“Current Rate of Progress Metrics”; (7) “Overall Performance Factor Metrics”; (8) “Toshiba’s




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Public Announcements Calling into Question the Viability of the Nuclear Project”; (9) “Santee

Cooper’s Serious Concerns”; and (10) “The Nuclear Project Whistleblower”. (Compl. at 168-71,

¶ 438.) Plaintiffs’ entire “red flag” theory rests on the assumptions that (a) just because these

documents exist, Deloitte must have had access to them, (b) that whatever mix of information

Deloitte reviewed compelled the conclusion that SCANA’s announced timetable was fraudulent,

and (c) since Deloitte must have had access to these documents, there can be but one inference:

that Deloitte knowingly issued fraudulent audit opinions with the intent to defraud because it was

on notice that SCANA was committing fraud.

       As inferences stacked upon inferences, these assumptions cannot withstand scrutiny in

adequately pleading independent auditor scienter. First, for all the alleged “red flags,” Plaintiffs’

allegations fail to meet the strict pleadings standards of the PSLRA. See In re Humphrey Hosp.

Tr., Inc. Sec. Litig., 219 F. Supp. 2d 675, 684 (D. Md. 2002) (“Allegations that Defendants had

actual knowledge consist largely of conclusory statements about what the [] Reports ‘must have

indicated’ about the Company's financial health, and that the Defendants ‘must have known’ that

their statements were misleading as a result. . . These assertions, without more particularized facts

to show what Defendants knew, when and how they knew it, and how their knowledge rendered

particular statements false or misleading, fail to meet the stiff pleading requirements of the

PSLRA.”). Instead, Plaintiffs’ red flag theory relies on an insufficient allegation that Deloitte

“should have reviewed” the referenced “documents and performance metrics available to [it].”

(Compl. at. 167, ¶ 438.) However, even assuming these documents and metrics could be

considered “red flags,” they must have been actually “known” by the auditor. 18 See, e.g., In re


18
  None of the “progress” or “performance” metrics could possibly constitute “red flags,” nor do
they establish scienter. Even if this information were known to Deloitte, at most this information
shows that construction had been delayed and that inefficiencies were apparent.


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Acterna Corp., 378 F. Supp. 2d at 580 (describing red flags as “known” risk factors). An auditor’s

knowledge of “red flags” must be pleaded specifically and may not be assumed. See, e.g., Special

Situations Fund III QP, L.P. v. Deloitte Touche, 33 F. Supp. 3d at 429; Iowa Pub. Employee’s Ret.

Sys. v. Deloitte & Touche LLP, 919 F. Supp. 2d 321, 332 (S.D.N.Y. 2013) (“[A]uditor access is

not tantamount to auditor awareness.”) And the Complaint does not allege such facts.

       Second, the Complaint fails to plead what other facts were represented to Deloitte that

supported SCANA managements’ timetable for completion.               Just as such information was

provided to regulators, the reasonable inference in this context is that the same information was

provided to Deloitte. There is no basis to assert that the total mix of information did not support

management’s conclusion, particularly when both the PSC and ORS vetted and adopted

management’s conclusion multiple times.

       Third, even if Deloitte actually knew of the facts which Plaintiffs characterize as “red

flags,” the exacting pleading standards still require the Court to make the ultimate inferential leap

that upon learning of these alleged facts, Deloitte made the decision that they were material to the

scope of their audit of SCANA’s financial statements, and then made the conscious decision to

ignore them and instead conduct “an audit so reckless” that it approximated “an intent to defraud.’”

In re Acterna Corp., 378 F. Supp. 2d at 583. No case involving independent auditor liability allows

for such an inferential leap. With no particularized allegations about what Deloitte knew, when

they knew it, and a complete lack of specificity about what Deloitte did or did not do upon

allegedly learning of each “red flag,” Plaintiffs’ “red flag” theory cannot support the assertion that

Deloitte performed “no audit at all.” Pub. Emples. Ret. Ass’n, 551 F.3d at 314-15. Indeed, even

if it can be inferred that Deloitte knew of the alleged facts regarding these documents, the more

cogent and compelling inference is that Deloitte considered the information in its audit and




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concluded that a different disclosure in SCANA’s 10-Ks was not warranted. At their very best,

after assuming the initial leaps of knowledge by Deloitte, Plaintiffs’ allegations support a theory

that Deloitte should have made a different determination under applicable accounting principles,

a conclusion that is much more akin to a non-actionable auditor negligence claims than securities

fraud. See, e.g., Plaisance, 2019 U.S. Dist. LEXIS 42073 at *40-41.

       Lastly, none of the facts alleged as “red flags” establish scienter because they ignore that

the PSC continued to approve revised schedules. For example, Plaintiffs’ own allegations confirm

that as of “November 9, 2016, the PSC approved [a] revised schedule, costs and election of the

fixed price option, and found that ‘the evidence of record justifies a finding that the changes are

not the result of imprudence on the part of’ SCANA.” (Compl. at 60, ¶ 157 (emphasis added).)

Thus, it is unreasonable to assume that Deloitte should have disregarded the approvals of state

regulators and that it acted with severe recklessness by relying on those approvals rather than

interpreting previous schedule concerns and multiple past revisions as purported “red flags”

showing fraud by SCANA.

                      iv.     The Remaining Circumstances Alleged by Plaintiffs Fail to
                              Establish Scienter.

       In their final theory, Plaintiffs assert that “other information demonstrates Deloitte’s

scienter.” (Id. at 171, ¶ 440.) Plaintiffs first proffer the timing of SCANA’s abandonment of the

Nuclear Project in relation to Deloitte’s second audit opinion in the 2016 10-K. (Id.) However,

this conjecture cannot support a strong inference of scienter when there is no indication from

Plaintiffs’ allegations that while conducting its audit Deloitte knew or recklessly disregarded

information suggesting SCANA would abandon the Nuclear Project. To the contrary, SCANA

had publicly represented that it would take over construction if Westinghouse was unable to finish




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it. Without more, inferring scienter simply from the temporal proximity between Deloitte’s report

and SCANA’s abandonment is nothing more than speculation. See, e.g., Fidel, 392 F.3d at 232.

       Plaintiffs next allege that the Nuclear Project “has resulted in numerous, ongoing

investigations and litigation” and that subpoenas have been issued that “seek documents pertaining

to Deloitte’s audits.” (Compl. at 171, ¶ 440.) However, Plaintiffs do not and cannot allege that

Deloitte is implicated in any criminal investigation or named in any civil action brought by any

regulator. And the mere fact that Deloitte may have documents relevant to investigations of

SCANA does not suggest fraud on the part of Deloitte.

       Plaintiffs further allege that the simplicity of the GAAP issues implicated demonstrates

Deloitte’s scienter.19 (Id. at 172, ¶ 440.) But vague allegations of “[t]he risks” and “the accounting

principles at issue” are insufficient to plead scienter under the PSLRA, and Plaintiffs’ allegations

are further weakened because SCANA’s financials have not been restated. See, e.g., In re Acterna

Corp., 378 F. Supp. 2d at 583 (finding an “argument that . . . the magnitude of the misstatement

and scope of the fraud ‘lend further probative weight to Plaintiffs’ allegations that the GAAP

violations in this case raise a strong inference of scienter’ is unpersuasive in light of the fact that

[the audited company] . . . did not restate previously reported financial numbers . . .”). Indeed, to

the extent the GAAP issues were simple, they were simple because the financial statement

accounting for the nuclear costs was dictated by the PSC’s prudency approvals.

       Finally, Plaintiffs allege that the “critical” nature of the Nuclear Project establishes

Deloitte’s scienter. (Compl. at 172, ¶ 440.) According to Plaintiffs, “[w]ithout completion of the

Nuclear Project in time to receive the Nuclear Tax Credits, SCANA was unlikely to be able to



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   Plaintiffs’ allegations about the breadth and length of alleged PCAOB violations are simply
reiterations of their prior allegations regarding the auditing standards. (Compl. at 171-72, ¶ 440.)


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continue to operate.” (Id.) However, Plaintiffs have not plausibly alleged that SCANA was in

imminent danger of becoming insolvent if the nuclear tax credits were not received. Further, such

an assertion would be contradicted by SCANA’s public disclosure that “[w]hen and to the extent

that production tax credits are realized, their benefits [we]re expected to be provided directly to

SCE&G’s electric customers.” (Id. at 178, ¶ 449.) Thus, the pass-through benefit of these

contingent tax credits would have been neutral to SCANA’s financial statements; a reality

supported by a lack of any restatement to SCANA’s financial statements following abandonment.

Accordingly, Plaintiffs’ “other circumstances” also fail to establish scienter on behalf of Deloitte.

               3.      Plaintiffs’ Failure to Plead Motive Supports a Lack of Scienter.

       Although “courts should not restrict their scienter inquiry by focusing on specific

categories of facts,” Ottmann, 353 F.3d at 345, “an inability to show motive can be a relevant

circumstance indicating the lack of scienter.’” In re Acterna Corp., 378 F. Supp. 2d at 576

(emphasis added) (citation omitted). “In order to demonstrate motive, a plaintiff must show

‘concrete benefits that could be realized by one or more of the false statements and wrongful

nondisclosures alleged.’” Phillips v. LCI Int'l, Inc., 190 F.3d 609, 621 (4th Cir. 1999) (citation

omitted).

       Here, Plaintiffs’ sole allegations related to motive fall flat. They allege that Deloitte was

motivated to issue fraudulent opinions with the intent to defraud because Deloitte has had a

“prolonged” relationship with SCANA spanning more than 70 years and that “Deloitte was paid

nearly $10 million for its audit work.” (Compl. at 27-28, ¶¶ 80-82.) However, “a ‘large

independent accountant will rarely, if ever, have any rational economic incentive to participate in

its client’s fraud’ because an ‘accountant’s success depends on maintaining a reputation for

honesty and integrity.’” In re Royal Ahold N.V. Sec. & ERISA Litig., 351 F. Supp. 2d 334, 390 (D.




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Md. 2004) (quoting Reiger, 117 F. Supp. 2d at 1007). Moreover, “[t]he Fourth Circuit has made

clear that allegations, like the ones asserted here, that merely charge that [the defendants]

committed fraud to prolong the benefits they hold . . . do not, in themselves, raise a strong inference

of scienter.” In re Acterna Corp., 378 F. Supp. 2d at 576 (citations omitted). Thus, these

allegations are insufficient to plead motive, and Plaintiffs’ inability to show motive evidences a

lack of scienter. See, e.g., id.

        D.      Plaintiffs Fail to Properly Plead Loss Causation.

        In addition to the above, the Complaint should also be dismissed because Plaintiffs fail to

adequately plead loss causation, another essential element of a Section 10(b) claim. See 15 U.S.C.

§ 78u-4(b)(4). Loss causation refers to the “causal connection” between the alleged misconduct

and the economic loss suffered by the plaintiff. Dura, 544 U.S. at 342. Establishing loss causation

is critical because the securities laws are not intended “to provide investors with broad insurance

against market losses, but to protect them against those economic losses that misrepresentations

actually cause.” Id. at 345. Consistent with Rule 9(b) of the Federal Rules of Civil Procedure,

loss causation must be pled “with sufficient specificity to enable the court to evaluate whether the

necessary causal link exists.” Katyle, 637 F.3d at 465-66. It is not enough to allege that “a

misrepresentation leads to an inflated purchase price.” Dura, 544 U.S. at 346. Rather, the alleged

misrepresentation or omission must be a “substantial cause” of the investment’s decline in value.

Katyle, 637 F.3d at 472.

        The Fourth Circuit recognizes two theories for pleading loss causation: (1) the corrective

disclosure theory and (2) the materialization of a concealed risk theory. Singer v. Reali, 883 F.3d

425, 445-46 (4th Cir. 2018). Under a corrective disclosure theory, a plaintiff “must provide a basis

on which to conclude the . . . alleged corrective disclosures . . . revealed ‘new facts’ suggesting




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[the defendant] had perpetrated a fraud on the market by omitting” or misrepresenting material

information in its prior statements to the market. Katyle, 637 F.3d at 473. Similarly, under a

materialization of the concealed risk theory, a plaintiff can show loss causation by alleging facts

showing that the drop in stock price was caused by “negative investor inferences drawn from the

disclosures [that] were a foreseeable materialization of the risk concealed” by the defendant’s

fraudulent statements.” Id. at 477 (quotation omitted). The ultimate loss causation inquiry under

either theory, however, is the same: “whether a misstatement or omission concealed something

from the market that, when disclosed, negatively affected the value of the security.” Singer, 883

F.3d at 446 (quotation omitted) (emphasis added). More importantly, “in cases, where, as here, a

plaintiff seeks to hold a[n] . . . auditor responsible for primary violations of the securities laws, the

plaintiff must plead that the market reacted negatively to some disclosure correcting the falsity in

the . . . auditor’s statements (and not simply the underlying fraud).” Amorosa v. Ernst & Young

LLP, 682 F. Supp. 2d 351, 363 (S.D.N.Y. 2010) (emphasis added); see In re Witness Sys., Inc. Sec.

Litig., No. 1:06-CV-1894-CC, 2008 U.S. Dist. LEXIS 109173, at *28 (N.D. Ga. Mar. 31, 2008)

(“[P]laintiff alleges no facts as to how any disclosure as to KPMG’s 2004 audit report proximately

caused the alleged loss or how any factfinder could reasonably allocate some portion of the loss to

KPMG’s 2004 audit report, as compared with the multiple disclosures about the Company . . . .”).

        While Plaintiffs’ pursue both theories for pleading loss causation, they satisfy neither

because they do not allege that any of Deloitte’s opinions concealed something from the market

that, “when disclosed, negatively affected” SCANA’s stock price.               Dismissal is therefore

appropriate because Plaintiffs have failed to plead a direct causal connection between Deloitte’s

statements and the claimed losses. See Dura, 544 U.S. at 346-47.




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       Here, Plaintiffs contend that Deloitte’s audit opinions concealed from the market that the

Nuclear Project was behind schedule and would not be completed in time for SCANA to receive

tax credits of up to $1.4 billion. (Compl. at 192, ¶ 473-74.) Plaintiffs further allege that

misstatements in Deloitte’s audit opinions were corrected through a series of 18 purported

corrective events from December 17, 2016 to December 21, 2017. (Id. at 192-96 ¶ 475-76.) But

while it is replete with other disclosures by SCANA that are not attributable to Deloitte, the

Complaint ignores SCANA’s disclosures acknowledging significant risks and uncertainties with

the Nuclear Project in its 2016 Form 10-K filed February 24, 2017, including the following

disclosure:

       Although progress on the project was seen in December 2016 and January 2017,
       including the placement of the first of Unit 2’s two steam generators, significant
       risks and uncertainties remain concerning WEC’s ability to improve work force
       efficiency and productivity performance and to continue to fulfill its performance
       and financial commitments and Toshiba’s ability to perform under its payment
       guaranty with respect to the project.

(Ex. B at 89.) This disclosure is contained in the very same Form 10-K as Deloitte’s 2016 audit

opinion. Consequently, any information purportedly “concealed” from the market was revealed

in the 10-K filed on February 24, 2017. Yet, Plaintiffs do not identify this 10-K as an alleged

corrective event and fail to allege the market impact of SCANA’s disclosures concerning

uncertainties with the Nuclear Project. Tellingly, SCANA’s stock price did not move materially

on the date the 10-K was issued—it closed two cents down from the prior day’s close (from $68.94

to $68.92). The next week the stock price increased to over $70, demonstrating that Deloitte’s

audit opinions could not have been a “substantial cause” of Plaintiffs’ claimed losses. Moreover,

all but three of the events allegedly correcting Deloitte’s statements occurred after SCANA

disclosed uncertainties with the Project, further demonstrating that any purported losses sustained

after February 24, 2017, lack a causal connection to Deloitte’s alleged misstatements. (See Compl.



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at 193-96, ¶ 476.)       In any event, Plaintiffs’ own allegations regarding SCANA’s public

announcement on July 27, 2017 that the Nuclear Project would not be completed by the January

2021 deadline for receiving federal tax credits shows that any alleged false statement attributable

to Deloitte regarding the status of the Nuclear Project was fully corrected by July 27, 2017, if not

earlier.    To the extent there were further declines in SCANA’s stock price following this

announcement, they cannot relate to Deloitte’s alleged misstatements because the market was fully

informed by July 27, 2017 that SCANA would not in fact receive federal tax credits for the Nuclear

Project.

           What is more, Plaintiffs have not even adequately alleged any corrective disclosures

supporting a causal connection between Deloitte’s alleged misrepresentations—i.e., its audit

opinions for the 2015 and 2016 10-Ks—and Plaintiffs’ claimed economic losses. To qualify as a

corrective event, the disclosure must “relate back to” the defendant’s alleged misrepresentation,

“not to some other negative information about the company.” Katyle, 637 F.3d at 473. But

Plaintiffs do not identify a single disclosure that allegedly corrected or revealed the truth of

Deloitte’s prior statements and make no effort to connect the corrective events with Deloitte’s

audit opinions. Not a single alleged corrective event makes any reference to Deloitte’s audit

opinions or any other statement by Deloitte. (See Compl. at 193-96, ¶ 476.) Plaintiffs instead rely

on disclosures that relate to the alleged securities fraud that was the subject of separate litigation

against SCANA and its management. Indeed, Plaintiffs’ proffered list of 18 corrective events are

nearly identical to the corrective events that allegedly corrected SCANA’s allegedly false and

misleading statements and omissions. (Compare Compl. at 193-96, ¶ 476 with Consolidated Class

Action Complaint, In re SCANA Corp. Sec. Litig., No. 3:17-2616-MBS (D.S.C. Mar. 30, 2018),




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ECF No. 72 at 171-75, ¶ 431.)20 While the alleged corrective events are critical of SCANA and its

management, they do not “relate back to” any statement by Deloitte. 21 More specifically, the

alleged corrective events do not correct any statements attributable to Deloitte, i.e., Deloitte’s

opinions on SCANA’s financial statements or the effectiveness of SCANA’s internal controls over

financial reporting. Nor can they; SCANA has not restated any of its financial statements and

neither of the operative audit opinions have been withdrawn or revised. Plaintiffs’ failure to

adequately allege a corrective disclosure or the materialization of a risk that Deloitte – as opposed

to SCANA – somehow concealed dooms Plaintiffs’ Section 10(b) claim. See Amorosa, 682 F.

Supp. 2d at 367 (“[Plaintiff’s] failure to plead facts connecting specific statements made by the

auditor to losses incurred by [plaintiff] is fatal to his Section 10(b) claim . . .”); Lattanzio, 476 F.3d

at 158 (2d Cir. 2007) (“Plaintiffs have not alleged facts to show that Deloitte’s misstatements,

among others (made by [the company]) that were much more consequential and numerous, were


20
   The Complaint regurgitates the same corrective events alleged in the SCANA litigation with
two minor differences. First, for the corrective event alleged on February 16, 2017, Plaintiffs in
this case also allege “Wells Fargo issued a report on February 16, 2017, stating that ‘we think the
current valuation arguably overstates the risk, particularly considering the protections afforded
SCG under the Baseload Review Act.’” (Compl. at 122, ¶ 323.) Second, for the corrective events
alleged on October 26-27, 2017, Plaintiffs also allege (i) “During a conference call held later in
the afternoon on October 26, 2017, Marsh explains that the Company was pursuing settlement
with the regulators, but that ‘[t]his is a very different situation, given the attention that’s been given
to it.’”; and (ii) “On October 27, 2017, analysts from Morgan Stanley lower its price target on the
grounds that analysts were ‘growing increasingly concerned’ about negative scenarios playing out
for the Company.” (Id. at 195-96, ¶ 476.) Neither of these is material to Deloitte’s statements.
21
   In prior securities litigation, this Court held that the plaintiffs had adequately pleaded causation
between SCANA’s and its management’s alleged misrepresentations and the economic losses that
followed from stock price declines. In re SCANA Corp. Sec. Litig., 2019 U.S. Dist. LEXIS 54176
at *42. Those same allegations, however, are not sufficient for adequately alleging loss causation
as against Deloitte. At best, the allegation in that case, and in the present case, are directed at
establishing a causal connection between SCANA’s alleged misrepresentations and the alleged
economic losses, not a causal connection between Deloitte’s audit opinions (or other conduct) and
such losses.




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the proximate cause of plaintiffs’ loss; nor have they alleged facts that would allow a factfinder to

ascribe some rough proportion of the whole loss to Deloitte’s misstatements. Accordingly,

plaintiffs have not alleged loss causation.”).

        For these reasons, Plaintiffs have not pleaded that Deloitte caused Plaintiffs’ economic

losses, and the Section 10(b) claim can be dismissed on this ground alone for failure to state a

claim upon which relief may be granted.

II.     PLAINTIFFS’ CLAIM IS TIME-BARRED BY THE TWO-YEAR STATUTE OF
        LIMITATIONS.

        In addition to its many other infirmities, Plaintiffs’ claim is untimely. Under 28 U.S.C. §

1658(b), a securities fraud claim must be brought no later than the earlier of two years after

discovery of the facts constituting the violation or five years after the violation itself. “Discovery”

in this context “encompasses not only those facts the plaintiff actually knew, but also those facts a

reasonably diligent plaintiff would have known.” Merck & Co. v. Reynolds, 559 U.S. 633, 648

(2010). According to Plaintiffs’ allegations, the only alleged facts that became known within the

limitations period are Mr. Swan’s e-mail and Mr. Addison’s testimony regarding the Bechtel

Reports. (See Compl. at 163-64, ¶¶ 428-430.) But as explained above, those allegations cannot

create an inference of scienter because they are belied by the record. (See supra Part I.B.2.ii.) As

such, even if Plaintiffs can plausibly allege scienter through Plaintiffs’ remaining allegations,

Plaintiffs’ claim is dead on arrival because the face of the Complaint demonstrates the facts

supporting such allegations were known prior to the limitations period. Dismissal is therefore

appropriate because Plaintiffs’ allegations reveal that it had all the information it needed to assert

a securities fraud claim against Deloitte more than two years before the commencement of this

action on November 22, 2019. See Pressley v. Tupperware Long Term Disability Plan, 553 F.3d

334, 336 (4th Cir. 2009) (“[W]here facts sufficient to rule on an affirmative defense—including



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the defense that the plaintiff’s claim is time-barred—are alleged in the complaint, the defense may

be reached by a motion to dismiss filed under Rule 12(b)(6).”) (internal quotations omitted).

       The alleged facts upon which Plaintiffs’ Section 10(b) claim is based, were known or would

have been discovered by a reasonably diligent plaintiff, more than two years before the present

action was filed (i.e., before November 22, 2017). Plaintiffs dedicate an 18-page section of the

Complaint to public disclosures—including press articles, press releases, and South Carolina

congressional testimony—that allegedly revealed the “fatal risks” facing the Nuclear Project. (See

Compl. at 136-54, ¶¶ 359-406.) Plaintiffs allege that these disclosures began in August 2017 and

that nearly all the materials purportedly revealing issues at SCANA entered the public domain

more than two years before Plaintiffs initiated this litigation. (Id.) Most importantly, Plaintiffs

expressly allege that it was publicly known by September 2017 that Deloitte had long-standing

knowledge of the risks facing the Nuclear Project, which is the fundamental premise of Plaintiffs’

Section 10(b) claim. (See id. at 140, ¶ 369.) Plaintiffs allege: “A rash of news stories were

published on September 6, 2017 and September 7, 2017, reporting on the fallout of the release of

the Second Bechtel Report and the release of a number of internal documents and communications

that revealed new information concerning SCANA’s and the Defendants’ longstanding

knowledge of the risks facing the Nuclear Project, and Westinghouse and Toshiba’s ability to pay

for the Nuclear Project once the fixed price option was elected.” (Id. (emphasis added).)

Remarkably, all but one of the eighteen alleged corrective disclosures occurred more than two

years before the commencement of this litigation. (See id. at 193-96, ¶ 476.) The one alleged

disclosure within the statute of limitations does not concern Deloitte—it was the PSC’s denial of

SCANA’s motion to dismiss a rate relief suit and a related Morgan Stanley report. (Id.) Notably,




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85% of the drop in the price of SCANA securities during the Class Period is attributable to

allegedly corrective events outside the two-year statute of limitations. (See id.)

       The only conceivable argument that Plaintiffs can advance to save their otherwise stale

claim is that the facts constituting Deloitte’s alleged scienter were not known or discoverable by a

reasonably diligent plaintiff before November 22, 2017, but any such argument is also contradicted

by Plaintiffs’ own allegations. Plaintiffs premise their scienter allegations on the contention that

Deloitte should have done more in its role as SCANA’s auditor. (See id. at 167-72, ¶¶ 438-40.)

The purported “red flags” that are the centerpiece of this contention are based on public disclosures

regarding issues with the Nuclear Project, including specifically the Bechtel Reports—all of which

were publicly disclosed before November 22, 2017. Plaintiffs’ only relevant allegation within the

two-year statute of limitations is that Deloitte’s alleged knowledge of the Bechtel Reports was not

known to the public until over a year after the Bechtel Reports themselves were released. (Id. at

163-64, ¶ 428.) But, as explained above, this argument is a red herring because Plaintiffs have not

adequately alleged that Deloitte was aware of the Bechtel Reports before the Nuclear Project was

abandoned. (See supra Part I.B.2.ii.a.) Even if Plaintiffs could adequately allege as much, that

does not affect commencement of the limitations period because Plaintiffs premise scienter on a

variety of other allegations that pre-date the limitations period. (See Compl. at 163-64, ¶¶ 438-

440.) Surely, Plaintiffs’ scienter allegations do not rise and fall with Deloitte’s alleged knowledge

of the Bechtel Reports prior to abandonment of the Nuclear Project. Moreover, to the extent that

Plaintiffs seek to rely on Deloitte’s special audit of the Nuclear Project costs to establish the

timelines of their claim, such allegations are similarly unavailing because Plaintiffs have not

pleaded specific facts demonstrating that Deloitte actually knew that the Nuclear Project would




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not be completed in time to receive the federal tax credits as a result of the special audit, much less

that the special audit even related to the timing or schedule for completion of the Nuclear Project.

       Because Plaintiffs’ allegations demonstrate that they had enough information to establish

their claims as pled before November 22, 2017, Plaintiffs’ Section 10(b) claim is time-barred by

the two-year statute of limitations and should be dismissed.

                                          CONCLUSION

       For these reasons, Deloitte respectfully requests that the Court dismiss the Complaint with

prejudice.

                                               Respectfully submitted,

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